Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 1 of 77 Page ID #:1




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                                            5:21-cr-00028-JWH
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 2 of 77 Page ID #:2
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 3 of 77 Page ID #:3
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 4 of 77 Page ID #:4
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 5 of 77 Page ID #:5
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 6 of 77 Page ID #:6
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 7 of 77 Page ID #:7
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 8 of 77 Page ID #:8
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 9 of 77 Page ID #:9
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 10 of 77 Page ID #:10
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 11 of 77 Page ID #:11
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 12 of 77 Page ID #:12
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 13 of 77 Page ID #:13
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 14 of 77 Page ID #:14
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 15 of 77 Page ID #:15
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 16 of 77 Page ID #:16
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 17 of 77 Page ID #:17
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 18 of 77 Page ID #:18
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 19 of 77 Page ID #:19
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 20 of 77 Page ID #:20
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 21 of 77 Page ID #:21
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 22 of 77 Page ID #:22
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 23 of 77 Page ID #:23
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 24 of 77 Page ID #:24
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 25 of 77 Page ID #:25
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 26 of 77 Page ID #:26
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 27 of 77 Page ID #:27
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 28 of 77 Page ID #:28
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 29 of 77 Page ID #:29
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 30 of 77 Page ID #:30
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 31 of 77 Page ID #:31
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 32 of 77 Page ID #:32
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 33 of 77 Page ID #:33
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 34 of 77 Page ID #:34
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 35 of 77 Page ID #:35
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 36 of 77 Page ID #:36
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 37 of 77 Page ID #:37
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 38 of 77 Page ID #:38
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 39 of 77 Page ID #:39
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 40 of 77 Page ID #:40
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 41 of 77 Page ID #:41
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 42 of 77 Page ID #:42
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 43 of 77 Page ID #:43
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 44 of 77 Page ID #:44
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 45 of 77 Page ID #:45
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 46 of 77 Page ID #:46
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 47 of 77 Page ID #:47
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 48 of 77 Page ID #:48
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 49 of 77 Page ID #:49
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 50 of 77 Page ID #:50
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 51 of 77 Page ID #:51
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 52 of 77 Page ID #:52
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 53 of 77 Page ID #:53
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 54 of 77 Page ID #:54
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 55 of 77 Page ID #:55
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 56 of 77 Page ID #:56
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 57 of 77 Page ID #:57
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 58 of 77 Page ID #:58
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 59 of 77 Page ID #:59
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 60 of 77 Page ID #:60
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 61 of 77 Page ID #:61
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 62 of 77 Page ID #:62
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 63 of 77 Page ID #:63
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 64 of 77 Page ID #:64
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 65 of 77 Page ID #:65
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 66 of 77 Page ID #:66
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 67 of 77 Page ID #:67
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 68 of 77 Page ID #:68
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 69 of 77 Page ID #:69
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 70 of 77 Page ID #:70
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 71 of 77 Page ID #:71
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 72 of 77 Page ID #:72
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 73 of 77 Page ID #:73
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 74 of 77 Page ID #:74
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 75 of 77 Page ID #:75
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 76 of 77 Page ID #:76
Case 5:21-cr-00028-JWH Document 1 Filed 02/16/21 Page 77 of 77 Page ID #:77
